                    Case 19-30376-bjh7 Doc 1 Filed 02/04/19
 Fill in this information to identify your case:
                                                                                                 Entered 02/04/19 07:26:53                        Page 1 of 65

 United States Bankruptcy Court for the:

                 Northern District of Texas

 Case number (If known):                              Chapter you are filing under:
                                                      ✔
                                                      ❑         Chapter 7
                                                      ❑         Chapter 11
                                                      ❑         Chapter 12
                                                      ❑         Chapter 13                                                                       ❑Check if this is an
                                                                                                                                                    amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                                12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and in joint
cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if either debtor owns
a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the
spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Identify Yourself

                                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name

       Write the name that is on your              Todd
       government-issued picture                   First name                                                       First name
       identification (for example, your
                                                   Rutherford
       driver’s license or passport).
                                                   Middle name                                                      Middle name
       Bring your picture identification to        Anderson
       your meeting with the trustee.              Last name                                                        Last name


                                                   Suffix (Sr., Jr, II, III)                                         Suffix (Sr., Jr, II, III)




  2.   All other names you have used
       in the last 8 years
                                                   First name                                                       First name
       Include your married or maiden
       names.                                      Middle name                                                      Middle name


                                                   Last name                                                        Last name




                                                   First name                                                       First name


                                                   Middle name                                                      Middle name


                                                   Last name                                                        Last name




  3.   Only the last 4 digits of your
                                                   xxx - xx - 2        6       8   1                                xxx - xx -
       Social Security number or
       federal Individual Taxpayer                 OR                                                               OR
       Identification number                       9xx - xx -                                                       9xx - xx -
       (ITIN)




Official Form 101                                                   Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
 Debtor 1
                    Case
                      Todd
                          19-30376-bjh7  Doc 1 FiledAnderson
                                   Rutherford
                                                      02/04/19                              Entered 02/04/19 07:26:53                       Page 2 of 65
                                                                                                                         Case number (if known)
                      First Name         Middle Name                    Last Name




                                         About Debtor 1:                                                      About Debtor 2 (Spouse Only in a Joint Case):


  4.   Any business names and
       Employer Identification            ❑I have not used any business names or EINs.                        ❑I have not used any business names or EINs.
       Numbers (EIN) you have used
       in the last 8 years                Anderson Appraisal Co.
                                          Business name                                                       Business name
       Include trade names and doing
       business as names

                                          Business name                                                       Business name

                                           7       5   -   2       9    4    7      9   3    1                             -
                                          EIN                                                                 EIN

                                           7       5   -   2       9    4    7      9   3    1                             -
                                          EIN                                                                 EIN




                                                                                                              If Debtor 2 lives at a different address:
  5.   Where you live
                                          231 Manor Way
                                          Number               Street                                         Number            Street




                                          Sunnyvale, TX 75182-9562
                                          City                                      State    ZIP Code         City                                     State     ZIP Code

                                          Dallas
                                          County                                                              County

                                          If your mailing address is different from the one above, fill If Debtor 2's mailing address is different from the one
                                          it in here. Note that the court will send any notices to you at above, fill it in here. Note that the court will send any notices
                                          this mailing address.                                           to you at this mailing address.


                                          Number               Street                                         Number            Street



                                          P.O. Box                                                            P.O. Box



                                          City                                      State    ZIP Code         City                                     State     ZIP Code




  6.   Why you are choosing this          Check one:                                                          Check one:
       district to file for bankruptcy
                                          ✔
                                          ❑      Over the last 180 days before filing this petition, I have   ❑      Over the last 180 days before filing this petition, I have
                                                 lived in this district longer than in any other district.           lived in this district longer than in any other district.

                                          ❑      I have another reason. Explain.                              ❑      I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                              (See 28 U.S.C. § 1408)




Official Form 101                                          Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 2
 Debtor 1
                    Case
                      Todd
                          19-30376-bjh7  Doc 1 FiledAnderson
                                   Rutherford
                                                      02/04/19                         Entered 02/04/19 07:26:53                          Page 3 of 65
                                                                                                                       Case number (if known)
                      First Name         Middle Name                 Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


                                         Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
  7.   The chapter of the Bankruptcy     (Form B2010)). Also, go to the top of page 1 and check the appropriate box.
       Code you are choosing to file
       under
                                         ✔
                                         ❑     Chapter 7
                                         ❑     Chapter 11
                                         ❑     Chapter 12
                                         ❑     Chapter 13




  8.   How you will pay the fee          ✔
                                         ❑   I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more details
                                             about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                             order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                             a pre-printed address.

                                         ❑   I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                             Your Filing Fee in Installments (Official Form 103A).

                                         ❑   I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                             but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line
                                             that applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill
                                             out the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.




                                         ❑No.
  9.   Have you filed for bankruptcy
       within the last 8 years?          ✔Yes.
                                         ❑         District Northern District of Texas               When 07/12/2018               Case number 18-32121-BJH-13
                                                                                                          MM / DD / YYYY
                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY
                                                   District                                          When                          Case number
                                                                                                            MM / DD / YYYY



                                         ✔ No.
                                         ❑
  10. Are any bankruptcy cases
       pending or being filed by a       ❑Yes.     Debtor                                                                       Relationship to you
       spouse who is not filing this
       case with you, or by a business             District                                      When                           Case number, if known
       partner, or by an affiliate?                                                                     MM / DD / YYYY


                                                   Debtor                                                                       Relationship to you

                                                   District                                      When                           Case number, if known
                                                                                                        MM / DD / YYYY



                                         ✔
                                         ❑   No.    Go to line 12.
  11. Do you rent your residence?
                                         ❑   Yes. Has your landlord obtained an eviction judgment against you?

                                                    ❑   No. Go to line 12.

                                                    ❑   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part
                                                        of this bankruptcy petition.




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                                             page 3
 Debtor 1
                    Case
                      Todd
                          19-30376-bjh7  Doc 1 FiledAnderson
                                   Rutherford
                                                      02/04/19                               Entered 02/04/19 07:26:53                     Page 4 of 65
                                                                                                                         Case number (if known)
                      First Name              Middle Name               Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


                                              ❑   No. Go to Part 4.
  12. Are you a sole proprietor of any
      full- or part-time business?            ✔
                                              ❑   Yes. Name and location of business

      A sole proprietorship is a business         Anderson Appraisal Co.
      you operate as an individual, and is        Name of business, if any
      not a separate legal entity such as
      a corporation, partnership, or LLC.
                                                  Number           Street
      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this petition.

                                                  City                                                       State        ZIP Code

                                                  Check the appropriate box to describe your business:

                                                  ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                                  ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                  ✔
                                                  ❑      None of the above




                                     If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
  13. Are you filing under Chapter 11deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      of the Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in
      you a small business debtor?   11 U.S.C. § 1116(1)(B).
      For a definition of small business      ✔
                                              ❑   No.        I am not filing under Chapter 11.
      debtor, see 11 U.S.C. § 101(51D).
                                              ❑   No.        I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                             Bankruptcy Code.

                                              ❑   Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy
                                                             Code.


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

                                              ✔
                                              ❑   No.
  14. Do you own or have any
      property that poses or is               ❑   Yes.     What is the hazard?
      alleged to pose a threat of
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate                        If immediate attention is needed, why is it needed?
      attention?

      For example, do you own
      perishable goods, or livestock that
      must be fed, or a building that                      Where is the property?
      needs urgent repairs?
                                                                                    Number          Street




                                                                                      City                                               State               ZIP Code




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
 Debtor 1
                    Case
                      Todd
                          19-30376-bjh7  Doc 1 FiledAnderson
                                   Rutherford
                                                      02/04/19                              Entered 02/04/19 07:26:53                        Page 5 of 65
                                                                                                                         Case number (if known)
                      First Name           Middle Name                Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you          About Debtor 1:                                                       About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you           You must check one:                                                   You must check one:
                                          ✔
      receive a briefing about credit
      counseling before you file for      ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      bankruptcy. You must truthfully          agency within the 180 before I filed this bankruptcy petition,        agency within the 180 before I filed this bankruptcy petition,
      check one of the following               and I received a certificate of completion.                           and I received a certificate of completion.
      choices. If you cannot do so, you        Attach a copy of the certificate and the payment plan, if             Attach a copy of the certificate and the payment plan, if
      are not eligible to file.                any, that you developed with the agency.                              any, that you developed with the agency.

      If you file anyway, the court can   ❑    I received a briefing from an approved credit counseling         ❑    I received a briefing from an approved credit counseling
      dismiss your case, you will lose         agency within the 180 days before I filed this bankruptcy             agency within the 180 days before I filed this bankruptcy
      whatever filing fee you paid, and        petition, but I do not have a certificate of completion.              petition, but I do not have a certificate of completion.
      your creditors can begin                 Within 14 days after you file this bankruptcy petition, you           Within 14 days after you file this bankruptcy petition, you
      collection activities again.             MUST file a copy of the certificate and payment plan, if              MUST file a copy of the certificate and payment plan, if
                                               any.                                                                  any.

                                          ❑    I certify that I asked for credit counseling services from an    ❑    I certify that I asked for credit counseling services from an
                                               approved agency, but was unable to obtain those services              approved agency, but was unable to obtain those services
                                               during the 7 days after I made my request, and exigent                during the 7 days after I made my request, and exigent
                                               circumstances merit a 30-day temporary waiver of the                  circumstances merit a 30-day temporary waiver of the
                                               requirement.                                                          requirement.
                                               To ask for a 30-day temporary waiver of the requirement,              To ask for a 30-day temporary waiver of the requirement,
                                               attach a separate sheet explaining what efforts you made              attach a separate sheet explaining what efforts you made
                                               to obtain the briefing, why you were unable to obtain it              to obtain the briefing, why you were unable to obtain it
                                               before you filed for bankruptcy, and what exigent                     before you filed for bankruptcy, and what exigent
                                               circumstances required you to file this case.                         circumstances required you to file this case.

                                               Your case may be dismissed if the court is dissatisfied               Your case may be dismissed if the court is dissatisfied
                                               with your reasons for not receiving a briefing before you             with your reasons for not receiving a briefing before you
                                               filed for bankruptcy.                                                 filed for bankruptcy.

                                               If the court is satisfied with your reasons, you must still           If the court is satisfied with your reasons, you must still
                                               receive a briefing within 30 days after you file.                     receive a briefing within 30 days after you file.
                                               You must file a certificate from the approved agency,                 You must file a certificate from the approved agency,
                                               along with a copy of the payment plan you developed, if               along with a copy of the payment plan you developed, if
                                               any. If you do not do so, your case may be dismissed.                 any. If you do not do so, your case may be dismissed.

                                               Any extension of the 30-day deadline is granted only for              Any extension of the 30-day deadline is granted only for
                                               cause and is limited to a maximum of 15 days.                         cause and is limited to a maximum of 15 days.

                                          ❑    I am not required to receive a briefing about credit             ❑    I am not required to receive a briefing about credit
                                               counseling because of:                                                counseling because of:
                                               ❑    Incapacity. I have a mental illness or a mental                  ❑    Incapacity. I have a mental illness or a mental
                                                                deficiency that makes me incapable                                    deficiency that makes me incapable
                                                                of realizing or making rational                                       of realizing or making rational
                                                                decisions about finances.                                             decisions about finances.
                                               ❑    Disability.   My physical disability causes me to                ❑    Disability.   My physical disability causes me to
                                                                  be unable to participate in a briefing                                be unable to participate in a briefing
                                                                  in person, by phone, or through the                                   in person, by phone, or through the
                                                                  internet, even after I reasonably tried                               internet, even after I reasonably tried
                                                                  to do so.                                                             to do so.
                                               ❑    Active duty. I am currently on active military duty in           ❑    Active duty. I am currently on active military duty in
                                                                 a military combat zone.                                               a military combat zone.

                                               If you believe you are not required to receive a briefing             If you believe you are not required to receive a briefing
                                               about credit counseling, you must file a motion for waiver            about credit counseling, you must file a motion for waiver
                                               of credit counseling with the court.                                  of credit counseling with the court.




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                              page 5
 Debtor 1
                    Case
                      Todd
                          19-30376-bjh7  Doc 1 FiledAnderson
                                   Rutherford
                                                      02/04/19                              Entered 02/04/19 07:26:53                         Page 6 of 65
                                                                                                                           Case number (if known)
                      First Name             Middle Name                Last Name


 Part 6: Answer These Questions for Reporting Purposes


                                             16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
  16. What kind of debts do you                   an individual primarily for a personal, family, or household purpose.”
      have?
                                                    ✔
                                                    ❑    No. Go to line 16b.

                                                    ❑    Yes. Go to line 17.

                                             16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money for a
                                                  business or investment or through the operation of the business or investment.
                                                    ✔
                                                    ❑    No. Go to line 16c.

                                                    ❑    Yes. Go to line 17.

                                             16c. State the type of debts you owe that are not consumer debts or business debts.
                                                    Income Taxes

  17. Are you filing under Chapter 7?        ❑      No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any         ✔
                                             ❑      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative
      exempt property is excluded                        expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses
      are paid that funds will be                           ❑     No
      available for distribution to
      unsecured creditors?                                  ❑     Yes

                                              ✔
                                              ❑     1-49 ❑ 50-99                     ❑    1,000-5,000 ❑ 5,001-10,000              ❑     25,001-50,000 ❑ 50,000-100,000
  18. How many creditors do you               ❑     100-199 ❑ 200-999                ❑    10,001-25,000                           ❑     More than 100,000
      estimate that you owe?

                                              ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  19. How much do you estimate                ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
      your assets to be worth?
                                              ✔
                                              ❑     $100,001-$500,000                 ❑     $50,000,001-$100 million                  ❑    $10,000,000,001-$50 billion
                                              ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

                                              ❑     $0-$50,000                        ❑     $1,000,001-$10 million                    ❑    $500,000,001-$1 billion
  20. How much do you estimate                ❑     $50,001-$100,000                  ❑     $10,000,001-$50 million                   ❑    $1,000,000,001-$10 billion
                                              ❑                                       ❑                                               ❑
      your liabilities to be?
                                                    $100,001-$500,000                       $50,000,001-$100 million                       $10,000,000,001-$50 billion
                                              ✔
                                              ❑     $500,001-$1 million               ❑     $100,000,001-$500 million                 ❑    More than $50 billion

 Part 7: Sign Below


  For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United States
                                   Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I have
                                   obtained and read the notice required by 11 U.S.C. § 342(b).
                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
                                   can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

                                     ✘ /s/ Todd Rutherford Anderson
                                          Todd Rutherford Anderson, Debtor 1
                                          Executed on 02/01/2019
                                                          MM/ DD/ YYYY




Official Form 101                                           Voluntary Petition for Individuals Filing for Bankruptcy                                                          page 6
 Debtor 1
                    Case
                      Todd
                          19-30376-bjh7  Doc 1 FiledAnderson
                                   Rutherford
                                                      02/04/19                          Entered 02/04/19 07:26:53                        Page 7 of 65
                                                                                                                      Case number (if known)
                      First Name            Middle Name             Last Name



   For your attorney, if you are             I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
   represented by one                        under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for
                                             which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and,
   If you are not represented by an          in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules
   attorney, you do not need to file this    filed with the petition is incorrect.
   page.

                                              ✘ /s/ Herman A. Lusky                                                   Date 02/01/2019
                                                 Herman A. Lusky, Attorney                                                   MM / DD / YYYY




                                                  Herman A. Lusky
                                                 Printed name

                                                 Lusky & Associates, P.C.
                                                 Firm name

                                                 5473 Blair Rd
                                                 Number        Street



                                                 Dallas                                                              TX       75231-2328
                                                 City                                                                State    ZIP Code



                                                 Contact phone (972) 386-3900                                     Email address mail@lusky.com


                                                 12702000                                                            TX
                                                 Bar number                                                          State




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 7
 Debtor 1
                    Case
                      Todd
                          19-30376-bjh7  Doc 1 FiledAnderson
                                   Rutherford
                                                      02/04/19                         Entered 02/04/19 07:26:53                   Page 8 of 65
                                                                                                                   Case number (if known)
                      First Name         Middle Name                 Last Name


 Additional Items: Continuation Page


  12. Are you a sole proprietor of any    Anderson Appraisal Co.
      full- or part-time business?        Name of business, if any
      (cont.)

                                          Number           Street




                                          City                                                  State            ZIP Code

                                          Check the appropriate box to describe your business:

                                          ❑      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                          ❑      Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                          ❑      Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                          ❑      Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          ✔
                                          ❑      None of the above




Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                  page 8
                      Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                                         Entered 02/04/19 07:26:53                                Page 9 of 65
 Fill in this information to identify your case and this filing:

  Debtor 1                          Todd                         Rutherford                 Anderson
                                   First Name                   Middle Name                Last Name

  Debtor 2
  (Spouse, if filing)              First Name                   Middle Name                Last Name

  United States Bankruptcy Court for the:                                            Northern District of Texas
                                                                                                                                                                                   ❑   Check if this is an
  Case number                                                                                                                                                                          amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you think it
fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
      ❑ No. Go to Part 2.
      ✔ Yes. Where is the property?
      ❑
      1.1      Homestead                                                      What is the property? Check all that apply.                                  Do not deduct secured claims or exemptions. Put the
              Street address, if available, or other
              description
                                                                             ✔ Single-family home
                                                                             ❑                                                                             amount of any secured claims on Schedule D:
                                                                             ❑ Duplex or multi-unit building                                               Creditors Who Have Claims Secured by Property.
              231 Manor Way                                                  ❑ Condominium or cooperative                                                Current value of the            Current value of the
                                                                             ❑ Manufactured or mobile home                                               entire property?                portion you own?
              Sunnyvale, TX 75182-9562                                       ❑ Land                                                                                  $386,000.00                    $386,000.00
              City                               State        ZIP Code       ❑ Investment property
                                                                             ❑ Timeshare                                                                 Describe the nature of your ownership interest (such
                                                                                                                                                         as fee simple, tenancy by the entireties, or a life
               Dallas
              County
                                                                             ❑ Other                                                                     estate), if known.
                                                                              Who has an interest in the property? Check one.
                                                                             ✔ Debtor 1 only
                                                                                                                                                           Fee Simple
                                                                             ❑
                                                                             ❑ Debtor 2 only
                                                                             ❑ Debtor 1 and Debtor 2 only                                                 ✔ Check if this is community property
                                                                                                                                                          ❑
                                                                             ❑ At least one of the debtors and another
                                                                                                                                                              (see instructions)

 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
    you have attached for Part 1. Write that number here.........................................................................................................                  ➜            $386,000.00




Official Form 106A/B                                                                                    Schedule A/B: Property                                                                         page 1
 Debtor 1
                     Case 19-30376-bjh7
                       Todd
                                         Doc 1 FiledAnderson
                                    Rutherford
                                                     02/04/19                                                         Entered 02/04/19 07:26:53                               Page 10 of 65
                                                                                                                                                               Case number (if known)
                            First Name                    Middle Name                       Last Name




 Part 2: Describe Your Vehicles



 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
       ❑ No
       ✔ Yes
       ❑
       3.1 Make:                                   Jeep                      Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                    Wrangler
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2013                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                                                                                                                           entire property?             portion you own?
            Approximate mileage:                                                                                                                                         unknown                     unknown
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




      If you own or have more than one, list here:

       3.2 Make:                                   Jeep                      Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                    Wrangler
                                                                             ✔ Debtor 1 only
                                                                             ❑                                                                               amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2008                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                                                                                                                           entire property?             portion you own?
            Approximate mileage:                                                                                                                                         unknown                     unknown
            Other information:                                               ❑Check if this is community property (see
                                                                                 instructions)




       3.3 Make:                                   Ford                      Who has an interest in the property? Check one.                                 Do not deduct secured claims or exemptions. Put the
                                                   Fusion                    ❑ Debtor 1 only                                                                 amount of any secured claims on Schedule D:
            Model:
                                                                             ❑ Debtor 2 only                                                                 Creditors Who Have Claims Secured by Property.
                                                   2016                      ❑ Debtor 1 and Debtor 2 only                                                  Current value of the         Current value of the
                                                                             ❑ At least one of the debtors and another
            Year:
                                                   56000                                                                                                   entire property?             portion you own?
            Approximate mileage:                                                                                                                                             $0.00                        $0.00
            Other information:
                                                                             ✔ Check if this is community property (see
                                                                             ❑
                                                                                 instructions)
             Wife's car in wife's name




 4.     Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
        ✔ No
        ❑
        ❑ Yes
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here.........................................................................................................                 ➜                  $0.00




Official Form 106A/B                                                                                     Schedule A/B: Property                                                                     page 2
 Debtor 1
                   Case 19-30376-bjh7
                     Todd
                                       Doc 1 FiledAnderson
                                  Rutherford
                                                   02/04/19                                 Entered 02/04/19 07:26:53                    Page 11 of 65
                                                                                                                          Case number (if known)
                       First Name               Middle Name             Last Name




 Part 3: Describe Your Personal and Household Items

  Do you own or have any legal or equitable interest in any of the following items?                                                                Current value of the
                                                                                                                                                   portion you own?
                                                                                                                                                   Do not deduct secured
                                                                                                                                                   claims or exemptions.

 6.    Household goods and furnishings
       Examples:    Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      Appliances, living and bedroom furniture, china and kitchenware
                                                                                                                                                                $3,500.00


 7. Electronics
       Examples:    Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections;
                    electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      2 TVs, 3 computers, 3 cell phones, 1 printer, 2 cameras                                                                   $2,300.00



 8.    Collectibles of value
       Examples:    Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                    stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
       ✔ No
       ❑
       ❑ Yes. Describe........

 9. Equipment for sports and hobbies
       Examples:    Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks;
                    carpentry tools; musical instruments

       ❑ No
       ✔ Yes. Describe........
       ❑
                                      Archery equipment, 2 guitars, 1 mandolin                                                                                  $1,150.00



 10.    Firearms
        Examples:    Pistols, rifles, shotguns, ammunition, and related equipment

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      2 pistols, 2 rifles, 2 shotguns                                                                                           $2,000.00



 11.    Clothes
        Examples:    Everyday clothes, furs, leather coats, designer wear, shoes, accessories

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      Clothes                                                                                                                   $1,000.00



 12.    Jewelry
        Examples:    Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

        ❑ No
        ✔ Yes. Describe........
        ❑
                                      Wedding rings, heirloom jewelry, watches
                                                                                                                                                                $2,000.00




Official Form 106A/B                                                              Schedule A/B: Property                                                       page 3
 Debtor 1
                      Case 19-30376-bjh7
                        Todd
                                          Doc 1 FiledAnderson
                                     Rutherford
                                                      02/04/19                                                                        Entered 02/04/19 07:26:53                                    Page 12 of 65
                                                                                                                                                                                   Case number (if known)
                              First Name                         Middle Name                            Last Name



 13.   Non-farm animals
       Examples:           Dogs, cats, birds, horses

       ❑ No
       ✔ Yes. Describe........
       ❑
                                                     Dog & Cat                                                                                                                                                               $0.00



 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Describe........

 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here........................................................................................................................................➜                                     $11,950.00




 Part 4: Describe Your Financial Assets

  Do you own or have any legal or equitable interest in any of the following?                                                                                                                               Current value of the
                                                                                                                                                                                                            portion you own?
                                                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                                                            claims or exemptions.


 16.   Cash
       Examples:           Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
       ❑ No
       ✔ Yes........................................................................................................................................................
       ❑                                                                                                                                                               Cash..............
                                                                                                                                                                                                                           $450.00



 17.   Deposits of money
       Examples:           Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other
                           similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes..................
       ❑
                                                       Institution name:



 17.1. Checking account:                                BB&T                                                                                                                                $1,100.00


 17.2. Checking account:                                Wells Fargo (Wife's Account)                                                                                                         $875.00


 17.3. Savings account:


 17.4. Savings account:


 17.5. Certificates of deposit:


 17.6. Other financial account:


 17.7. Other financial account:


 17.8. Other financial account:



Official Form 106A/B                                                                                                    Schedule A/B: Property                                                                          page 4
 Debtor 1
                   Case 19-30376-bjh7
                     Todd
                                       Doc 1 FiledAnderson
                                  Rutherford
                                                   02/04/19                                 Entered 02/04/19 07:26:53                       Page 13 of 65
                                                                                                                           Case number (if known)
                          First Name            Middle Name              Last Name



 17.9. Other financial account:


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples:        Bond funds, investment accounts with brokerage firms, money market accounts
       ✔ No
       ❑
       ❑ Yes..................
 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
       an LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them...................

 21.   Retirement or pension accounts
       Examples:        Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
       ✔ No
       ❑
       ❑ Yes. List each account
            separately.
 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
       others
       ✔ No
       ❑
       ❑ Yes.....................
 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes.....................
 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       ✔ No
       ❑
       ❑ Yes.....................
 Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c):

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your
       benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples:        Internet domain names, websites, proceeds from royalties and licensing agreements
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....



Official Form 106A/B                                                               Schedule A/B: Property                                                   page 5
 Debtor 1
                 Case 19-30376-bjh7
                   Todd
                                     Doc 1 FiledAnderson
                                Rutherford
                                                 02/04/19                                    Entered 02/04/19 07:26:53                           Page 14 of 65
                                                                                                                             Case number (if known)
                       First Name               Middle Name              Last Name



 27.   Licenses, franchises, and other general intangibles
       Examples:     Building permits, exclusive licenses, cooperative association holdings, liquor licenses,
                     professional licenses
       ✔ No
       ❑
       ❑ Yes. Give specific
            information about them....


Money or property owed to you?                                                                                                                           Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.


 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes.    Give specific information about                                                                                  Federal:
                 them, including whether you
                 already filed the returns and the                                                                              State:
                 tax years.......................
                                                                                                                                Local:



 29.   Family support
       Examples:     Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

       ✔ No
       ❑
       ❑ Yes.    Give specific information..........
                                                                                                                                Alimony:

                                                                                                                                  Maintenance:

                                                                                                                                Support:

                                                                                                                                  Divorce settlement:

                                                                                                                                Property settlement:


 30.   Other amounts someone owes you
       Examples:     Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social
                     Security benefits; unpaid loans you made to someone else
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




 31.   Interests in insurance policies
       Examples:     Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       ✔ No
       ❑
       ❑ Yes.    Name the insurance company
                                                           Company name:                                           Beneficiary:                         Surrender or refund value:
                 of each policy and list its value....

 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property
       because someone has died.
       ✔ No
       ❑
       ❑ Yes.    Give specific information..........




Official Form 106A/B                                                               Schedule A/B: Property                                                              page 6
 Debtor 1
                    Case 19-30376-bjh7
                      Todd
                                        Doc 1 FiledAnderson
                                   Rutherford
                                                    02/04/19                                                            Entered 02/04/19 07:26:53                                Page 15 of 65
                                                                                                                                                                  Case number (if known)
                           First Name                      Middle Name                       Last Name



 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples:         Accidents, employment disputes, insurance claims, or rights to sue
       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
       to set off claims

       ✔ No
       ❑
       ❑ Yes.       Describe each claim................




 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes.       Give specific information..........




 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here..................................................................................................................................➜                           $2,425.00



 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?
       ✔No. Go to Part 6.
       ❑
       ❑Yes. Go to line 38.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe........

 39.   Office equipment, furnishings, and supplies
       Examples:         Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe........

 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe........

 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe........



Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 7
 Debtor 1
                    Case 19-30376-bjh7
                      Todd
                                        Doc 1 FiledAnderson
                                   Rutherford
                                                    02/04/19                                                            Entered 02/04/19 07:26:53                                Page 16 of 65
                                                                                                                                                                  Case number (if known)
                           First Name                      Middle Name                       Last Name



 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe........
 43.   Customer lists, mailing lists, or other compilations
       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
               ✔ No
               ❑
               ❑ Yes. Describe........

 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.........

 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here.................................................................................................................................➜                                $0.00



 Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
         If you own or have an interest in farmland, list it in Part 1.

 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       ✔No. Go to Part 7.
       ❑
       ❑Yes. Go to line 47.
                                                                                                                                                                                           Current value of the
                                                                                                                                                                                           portion you own?
                                                                                                                                                                                           Do not deduct secured
                                                                                                                                                                                           claims or exemptions.

 47.   Farm animals
       Examples:         Livestock, poultry, farm-raised fish
       ✔ No
       ❑
       ❑ Yes.........................

 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............


 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes..........................




Official Form 106A/B                                                                                       Schedule A/B: Property                                                                     page 8
 Debtor 1
                     Case 19-30376-bjh7
                       Todd
                                         Doc 1 FiledAnderson
                                    Rutherford
                                                     02/04/19                                                                Entered 02/04/19 07:26:53                                  Page 17 of 65
                                                                                                                                                                         Case number (if known)
                            First Name                       Middle Name                          Last Name



 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............



 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here...................................................................................................................................➜                               $0.00



 Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above


 53.   Do you have other property of any kind you did not already list?
       Examples:          Season tickets, country club membership
       ✔ No
       ❑
       ❑ Yes. Give specific
            information.............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here.....................................................➜                                                                $0.00



 Part 8: List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2..........................................................................................................................................➜                 $386,000.00


 56.   Part 2: Total vehicles, line 5                                                                                                $0.00


 57.   Part 3: Total personal and household items, line 15                                                                   $11,950.00


 58.   Part 4: Total financial assets, line 36                                                                                 $2,425.00


 59.   Part 5: Total business-related property, line 45                                                                              $0.00


 60.   Part 6: Total farm- and fishing-related property, line 52                                                                     $0.00


 61.   Part 7: Total other property not listed, line 54                                                +                             $0.00


 62.   Total personal property. Add lines 56 through 61..............                                                        $14,375.00             Copy personal property total➜          +      $14,375.00




 63.   Total of all property on Schedule A/B. Add line 55 + line 62.................................................................................................                                $400,375.00




Official Form 106A/B                                                                                            Schedule A/B: Property                                                                  page 9
                  Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                  Entered 02/04/19 07:26:53                Page 18 of 65

 Fill in this information to identify your case:

  Debtor 1                    Todd                 Rutherford          Anderson
                              First Name           Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)         First Name           Middle Name         Last Name

  United States Bankruptcy Court for the:                         Northern District of Texas

  Case number                                                                                                                          ❑   Check if this is an
  (if known)                                                                                                                               amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                        04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out and
attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific dollar amount as
exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable statutory limit. Some
exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited in dollar amount. However, if you
claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the property is determined to
exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1: Identify the Property You Claim as Exempt

      Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
 1.
      ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
      ❑
 2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 Brief description of the property and line on               Current value of the        Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                       portion you own
                                                             Copy the value from         Check only one box for each exemption.
                                                             Schedule A/B
 Brief description:
                                                                                         ❑                                        11 U.S.C. § 522(d)(1)
                                                                                         ✔
  Homestead                                                              $386,000.00
  231 Manor Way Sunnyvale, TX 75182-9562                                                 ❑    100% of fair market value, up to
                                                                                              any applicable statutory limit
 Line from
 Schedule A/B:          1.1

 Brief description:
                                                                                         ❑                                        11 U.S.C. § 522(d)(2)
                                                                                         ✔
 2013 Jeep Wrangler                                                          unknown
                                                                                         ❑    100% of fair market value, up to
 Line from                                                                                    any applicable statutory limit
 Schedule A/B:          3.1


 3.   Are you claiming a homestead exemption of more than $160,375?
      (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
      ✔ No
      ❑
      ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                               Schedule C: The Property You Claim as Exempt                                                    page 1 of 3
 Debtor 1
                 Case 19-30376-bjh7
                   Todd
                                     Doc 1 FiledAnderson
                                Rutherford
                                                 02/04/19                            Entered 02/04/19 07:26:53         Page 19 of 65
                                                                                                       Case number (if known)
                      First Name            Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on            Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                    portion you own
                                                          Copy the value from       Check only one box for each exemption.
                                                          Schedule A/B
 Brief description:
                                                                                    ❑                                        11 U.S.C. § 522(d)(2)
                                                                                    ✔
 2008 Jeep Wrangler                                                      unknown
                                                                                    ❑   100% of fair market value, up to
 Line from                                                                              any applicable statutory limit
 Schedule A/B:        3.2

 Brief description:
                                                                                    ❑                                        11 U.S.C. § 522(d)(2)
                                                                                    ✔
 2016 Ford Fusion                                                           $0.00
 Wife's car in wife's name                                                          ❑   100% of fair market value, up to
                                                                                        any applicable statutory limit
 Line from
 Schedule A/B:        3.3

 Brief description:
                                                                                    ❑                                        11 U.S.C. § 522(d)(3)
                                                                                    ✔
 Appliances, living and bedroom furniture, china and                   $3,500.00
 kitchenware                                                                        ❑   100% of fair market value, up to
                                                                                        any applicable statutory limit
 Line from
 Schedule A/B:         6

 Brief description:
                                                                                    ❑                                        11 U.S.C. § 522(d)(3)
                                                                                    ✔
 2 TVs, 3 computers, 3 cell phones, 1 printer, 2                       $2,300.00
 cameras                                                                            ❑   100% of fair market value, up to
                                                                                        any applicable statutory limit
 Line from
 Schedule A/B:         7

 Brief description:
                                                                                    ❑                                        11 U.S.C. § 522(d)(3)
                                                                                    ✔
 Archery equipment, 2 guitars, 1 mandolin                              $1,150.00
                                                                                    ❑   100% of fair market value, up to
 Line from                                                                              any applicable statutory limit
 Schedule A/B:         9

 Brief description:
                                                                                    ❑                                        11 U.S.C. § 522(d)(5)
                                                                                    ✔
 2 pistols, 2 rifles, 2 shotguns                                       $2,000.00
                                                                                    ❑   100% of fair market value, up to
 Line from                                                                              any applicable statutory limit
 Schedule A/B:         10

 Brief description:
                                                                                    ❑                                        11 U.S.C. § 522(d)(3)
                                                                                    ✔
 Clothes                                                               $1,000.00
                                                                                    ❑   100% of fair market value, up to
 Line from                                                                              any applicable statutory limit
 Schedule A/B:         11

 Brief description:
                                                                                    ❑                                        11 U.S.C. § 522(d)(4)
                                                                                    ✔
 Wedding rings, heirloom jewelry, watches                              $2,000.00
                                                                                    ❑   100% of fair market value, up to
 Line from                                                                              any applicable statutory limit
 Schedule A/B:         12
                                                                                    ✔
                                                                                    ❑                 $400.00                11 U.S.C. § 522(d)(5)
                                                                                    ❑   100% of fair market value, up to
                                                                                        any applicable statutory limit




Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                 page 2 of 3
 Debtor 1
                 Case 19-30376-bjh7
                   Todd
                                     Doc 1 FiledAnderson
                                Rutherford
                                                 02/04/19                          Entered 02/04/19 07:26:53         Page 20 of 65
                                                                                                     Case number (if known)
                      First Name          Middle Name            Last Name


 Part 2: Additional Page

 Brief description of the property and line on          Current value of the      Amount of the exemption you claim         Specific laws that allow exemption
 Schedule A/B that lists this property                  portion you own
                                                        Copy the value from       Check only one box for each exemption.
                                                        Schedule A/B
 Brief description:
                                                                                  ❑                                        11 U.S.C. § 522(d)(3)
                                                                                  ✔
 Dog & Cat                                                                $0.00
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        13

 Brief description:
                                                                                  ❑                                        11 U.S.C. § 522(d)(5)
                                                                                  ✔
 Cash                                                                  $450.00
                                                                                  ❑   100% of fair market value, up to
 Line from                                                                            any applicable statutory limit
 Schedule A/B:        16

 Brief description:
                                                                                  ❑                                        11 U.S.C. § 522(d)(5)
                                                                                  ✔
 BB&T                                                                $1,100.00
 Checking account                                                                 ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17

 Brief description:
                                                                                  ❑                                        11 U.S.C. § 522(d)(5)
                                                                                  ✔
 Wells Fargo (Wife's Account)                                          $875.00
 Checking account                                                                 ❑   100% of fair market value, up to
                                                                                      any applicable statutory limit
 Line from
 Schedule A/B:        17




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                                 page 3 of 3
                   Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                   Entered 02/04/19 07:26:53                         Page 21 of 65
 Fill in this information to identify your case:

  Debtor 1                    Todd                   Rutherford          Anderson
                             First Name             Middle Name          Last Name

  Debtor 2
  (Spouse, if filing)        First Name             Middle Name          Last Name

  United States Bankruptcy Court for the:                           Northern District of Texas

  Case number                                                                                                                                      ❑   Check if this is an
  (if known)                                                                                                                                           amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case number (if
known).
1. Do any creditors have claims secured by your property?
      ❑No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      ✔Yes. Fill in all of the information below.
      ❑
 Part 1: List All Secured Claims

 2.     List all secured claims. If a creditor has more than one secured claim, list the creditor separately for    Column A                Column B              Column C
        each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As much   Amount of claim         Value of collateral   Unsecured
        as possible, list the claims in alphabetical order according to the creditor’s name.                        Do not deduct the       that supports         portion
                                                                                                                    value of collateral.    this claim            If any

         Add the dollar value of your entries in Column A on this page. Write that number here:                                            $0.00




Official Form 106D                                         Schedule D: Creditors Who Have Claims Secured by Property                                                   page 1 of 4
 Debtor 1
               Case 19-30376-bjh7
                 Todd
                                   Doc 1 FiledAnderson
                              Rutherford
                                               02/04/19                                  Entered 02/04/19 07:26:53         Page 22 of 65
                                                                                                           Case number (if known)
                       First Name         Middle Name               Last Name


                                                                                                                 Column A               Column B              Column C
              Additional Page
                                                                                                                 Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                 Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                value of collateral.   this claim            If any



 2.1 Chrysler Financial                           Describe the property that secures the claim:                           $5,919.91                  $0.00           $5,919.91
     Creditor's Name
                                                   2013 Jeep Wrangler
      Po Box 961275
     Number          Street
      Fort Worth, TX 76161-0275                   As of the date you file, the claim is: Check all that apply.
     City                      State   ZIP Code   ❑Contingent
     Who owes the debt? Check one.                ❑Unliquidated
     ❑Debtor 1 only                               ❑Disputed
     ❑Debtor 2 only                               Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                  ✔An agreement you made (such as mortgage or
                                                  ❑
     ✔At least one of the debtors and another
     ❑                                               secured car loan)
     ❑Check if this claim relates to a            ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                  ❑Judgment lien from a lawsuit
     Date debt was incurred                       ❑Other (including a right to offset)
     10/04/2013

                                                  Last 4 digits of account number




 2.2 Internal Revenue Service                     Describe the property that secures the claim:                         $167,000.00           $386,000.00           $69,684.01
     Creditor's Name
                                                   Homestead
      Centralized Insolvency Operations            231 Manor Way Sunnyvale, TX 75182-9562
      Po Box 7346
     Number          Street
                                                  As of the date you file, the claim is: Check all that apply.

      Philadelphia, PA 19101-7346                 ❑Contingent
     City                      State   ZIP Code   ❑Unliquidated
     Who owes the debt? Check one.                ❑Disputed
     ✔ Debtor 1 only
     ❑                                            Nature of lien. Check all that apply.
     ❑Debtor 2 only                               ❑An agreement you made (such as mortgage or
     ❑Debtor 1 and Debtor 2 only                     secured car loan)
     ❑At least one of the debtors and another     ❑Statutory lien (such as tax lien, mechanic's lien)
     ❑Check if this claim relates to a            ❑Judgment lien from a lawsuit
        community debt
                                                  ❑Other (including a right to offset)
     Date debt was incurred
     2004, 2005, 2006                             Last 4 digits of account number




      Add the dollar value of your entries in Column A on this page. Write that number here:                                   $172,919.91




Official Form 106D                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 4
 Debtor 1
               Case 19-30376-bjh7
                 Todd
                                   Doc 1 FiledAnderson
                              Rutherford
                                               02/04/19                                   Entered 02/04/19 07:26:53         Page 23 of 65
                                                                                                            Case number (if known)
                       First Name          Middle Name               Last Name


                                                                                                                  Column A               Column B              Column C
              Additional Page
                                                                                                                  Amount of claim        Value of collateral   Unsecured
  Part 1:     After listing any entries on this page, number them beginning with                                  Do not deduct the      that supports         portion
              2.3, followed by 2.4, and so forth.                                                                 value of collateral.   this claim            If any



 2.3 Mr. Cooper                                    Describe the property that secures the claim:                         $288,684.01           $386,000.00                   $0.00
     Creditor's Name
                                                     Homestead
      8950 Cypress Waters Blvd                       231 Manor Way Sunnyvale, TX 75182-9562
     Number          Street
      Coppell, TX 75019-4620                       As of the date you file, the claim is: Check all that apply.
     City                      State   ZIP Code    ❑Contingent
     Who owes the debt? Check one.                 ❑Unliquidated
     ❑Debtor 1 only                                ❑Disputed
     ❑Debtor 2 only                                Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                   ✔An agreement you made (such as mortgage or
                                                   ❑
     ✔At least one of the debtors and another
     ❑                                                 secured car loan)
     ❑Check if this claim relates to a             ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                   ❑Judgment lien from a lawsuit
     Date debt was incurred                        ❑Other (including a right to offset)
     11/30/2004
                                                   Last 4 digits of account number 9            2   1    1




 2.4 Westlake Financial                            Describe the property that secures the claim:                           $1,306.01                  $0.00           $1,306.01
     Creditor's Name
                                                     2008 Jeep Wrangler
      Po Box 54807
     Number          Street
      Los Angeles, CA 90054-0807                   As of the date you file, the claim is: Check all that apply.
     City                      State   ZIP Code    ❑Contingent
     Who owes the debt? Check one.                 ❑Unliquidated
     ❑Debtor 1 only                                ❑Disputed
     ❑Debtor 2 only                                Nature of lien. Check all that apply.
     ❑Debtor 1 and Debtor 2 only                   ❑An agreement you made (such as mortgage or
     ✔At least one of the debtors and another
     ❑                                                 secured car loan)
     ❑Check if this claim relates to a             ❑Statutory lien (such as tax lien, mechanic's lien)
        community debt
                                                   ❑Judgment lien from a lawsuit
     Date debt was incurred                        ❑Other (including a right to offset)
                                                   Last 4 digits of account number




      Add the dollar value of your entries in Column A on this page. Write that number here:                                    $289,990.02
      If this is the last page of your form, add the dollar value totals from all pages. Write that number                      $462,909.93
      here:




Official Form 106D                         Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 4
 Debtor 1
                 Case 19-30376-bjh7
                   Todd
                                     Doc 1 FiledAnderson
                                Rutherford
                                                 02/04/19                              Entered 02/04/19 07:26:53         Page 24 of 65
                                                                                                         Case number (if known)
                     First Name             Middle Name             Last Name



 Part 2: List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is trying
 to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more than one
 creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any debts in Part 1,
 do not fill out or submit this page.

    1                                                                                        On which line in Part 1 did you enter the creditor?     3
        RAS Crane, LLC
        Name
                                                                                             Last 4 digits of account number
        10700 Abbotts Bridge Rd Ste 170
        Number       Street



        Duluth, GA 30097-8461
        City                                                State         ZIP Code


    2                                                                                        On which line in Part 1 did you enter the creditor?     3
        RAS Crane, LLC
        Name
                                                                                             Last 4 digits of account number
        1900 Enchanted Way
        Number       Street



        Grapevine, TX 76051
        City                                                State         ZIP Code




Official Form 106D                               Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                                      page 4 of 4
                  Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                Entered 02/04/19 07:26:53                        Page 25 of 65
 Fill in this information to identify your case:

  Debtor 1                   Todd                  Rutherford         Anderson
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                               ❑    Check if this is an
  (if known)                                                                                                                                     amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                          12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in Schedule
D: Creditors Who Hold Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach
the Continuation Page to this page. On the top of any additional pages, write your name and case number (if known).

 Part 1: List All of Your PRIORITY Unsecured Claims

  1. Do any creditors have priority unsecured claims against you?
     ❑ No. Go to Part 2.
     ✔ Yes.
     ❑
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
     identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
     possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
     Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
     (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                  Total       Priority         Nonpriority
                                                                                                                                  claim       amount           amount

2.1      Internal Revenue Service                                                                                                 $160,000.00     $160,000.00              $0.00
                                                                    Last 4 digits of account number
        Priority Creditor's Name
                                                                                                        2014, 2015, 2016,
         Centralized Insolvency Operations                          When was the debt incurred? 2017
         Po Box 7346                                                As of the date you file, the claim is: Check all that
        Number           Street                                     apply.
         Philadelphia, PA 19101-7346                                ❑ Contingent
        City                               State   ZIP Code         ❑ Unliquidated
        Who incurred the debt? Check one.                           ❑ Disputed
        ✔
        ❑ Debtor 1 only                                             Type of PRIORITY unsecured claim:
        ❑ Debtor 2 only                                             ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                                ✔ Taxes and certain other debts you owe the
                                                                    ❑
        ❑ At least one of the debtors and another                       government
        ❑ Check if this claim is for a community debt               ❑ Claims for death or personal injury while you were
                                                                        intoxicated
        Is the claim subject to offset?
        ✔ No                                                        ❑ Other. Specify
        ❑
        ❑ Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 6
 Debtor 1
                   Case 19-30376-bjh7
                     Todd
                                       Doc 1 FiledAnderson
                                  Rutherford
                                                   02/04/19                                 Entered 02/04/19 07:26:53                        Page 26 of 65
                                                                                                                           Case number (if known)
                       First Name              Middle Name              Last Name

 Part 2: List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
      ❑     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      ✔
      ❑     Yes.
  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
     unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
     than one creditor holds a particular claim, list the other creditors in Part 3. If you have more than three nonpriority unsecured claims fill out the Continuation Page of
     Part 2.
                                                                                                                                                             Total claim

4.1     Baylor Scott & White Inst. for Rehab.                                     Last 4 digits of account number 8963                                                     $528.00
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        Po Box 677466
                                                                                  As of the date you file, the claim is: Check all that apply.
        Number           Street
        Dallas, TX 75267-7466
                                                                                  ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.
                                                                                  ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only
                                                                                  ❑ Obligations arising out of a separation agreement or
                                                                                      divorce that you did not report as priority claims
        ❑ At least one of the debtors and another
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑
        ❑ Yes
4.2     Capital One Bank - General Correspondence                                                                                                                          $481.03
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
        Po Box 30285
        Number           Street                                                   As of the date you file, the claim is: Check all that apply.
        Salt Lake Cty, UT 84130-0287                                              ❑ Contingent
        City                              State     ZIP Code                      ❑ Unliquidated
        Who incurred the debt? Check one.                                         ❑ Disputed
        ✔
        ❑ Debtor 1 only                                                           Type of NONPRIORITY unsecured claim:
        ❑ Debtor 2 only                                                           ❑ Student loans
        ❑ Debtor 1 and Debtor 2 only                                              ❑ Obligations arising out of a separation agreement or
        ❑                                                                             divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
          At least one of the debtors and another
        ❑ Check if this claim is for a community debt                                 similar debts
        Is the claim subject to offset?                                           ✔ Other. Specify
                                                                                  ❑
        ✔ No
        ❑                                                                             Credit Card
        ❑ Yes
4.3     Dallas Prim Care Hospital                                                                                                                                     unknown
                                                                                  Last 4 digits of account number
        Nonpriority Creditor's Name
        c/o Credit Systems                                                        When was the debt incurred?
                                                                                  As of the date you file, the claim is: Check all that apply.
                                                                                  ❑ Contingent
        Po Box 1088
        Number           Street
        Arlington, TX 76004-1088                                                  ❑ Unliquidated
        City                              State     ZIP Code                      ❑ Disputed
        Who incurred the debt? Check one.                                         Type of NONPRIORITY unsecured claim:
        ✔ Debtor 1 only
        ❑                                                                         ❑ Student loans
        ❑ Debtor 2 only                                                           ❑ Obligations arising out of a separation agreement or
        ❑ Debtor 1 and Debtor 2 only                                                  divorce that you did not report as priority claims
                                                                                  ❑ Debts to pension or profit-sharing plans, and other
        ❑ At least one of the debtors and another                                     similar debts
        ❑ Check if this claim is for a community debt                             ✔ Other. Specify
                                                                                  ❑
        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes



Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 2 of 6
                    Case 19-30376-bjh7 Doc 1 Filed 02/04/19                           Entered 02/04/19 07:26:53                        Page 27 of 65
 Debtor 1              Todd                   Rutherford            Anderson                                         Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim


4.4     Internal Revenue Service                                                                                                                       $290,000.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Centralized Insolvency Operations
                                                                            As of the date you file, the claim is: Check all that apply.
        Po Box 7346
       Number           Street                                              ❑   Contingent
        Philadelphia, PA 19101-7346                                         ❑   Unliquidated
       City                              State     ZIP Code                 ❑   Disputed
       Who incurred the debt? Check one.                                    Type of NONPRIORITY unsecured claim:
       ✔
       ❑      Debtor 1 only                                                 ❑   Student loans
       ❑      Debtor 2 only                                                 ❑   Obligations arising out of a separation agreement or
       ❑      Debtor 1 and Debtor 2 only                                        divorce that you did not report as priority claims

       ❑      At least one of the debtors and another
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       ❑      Check if this claim is for a community debt                   ✔
                                                                            ❑   Other. Specify
       Is the claim subject to offset?                                          Unsecured Income Taxes
       ✔
       ❑      No
       ❑      Yes
4.5     Lawn Lab                                                                                                                                             $217.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        112 Industrial Dr.
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Fort Worth, TX 76126                                                ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.6     Mnet Financial / Receivable Mgt. Solutions                          Last 4 digits of account number 4033                                         $4,254.00
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        95 Argonaut Ste 200
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Aliso Viejo, CA 92656-4147                                          ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another
                                                                                divorce that you did not report as priority claims

       ❑                                                                    ❑   Debts to pension or profit-sharing plans, and other
              Check if this claim is for a community debt                       similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Medical
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 3 of 6
                    Case 19-30376-bjh7 Doc 1 Filed 02/04/19                           Entered 02/04/19 07:26:53                        Page 28 of 65
 Debtor 1              Todd                   Rutherford            Anderson                                         Case number (if known)
                       First Name             Middle Name           Last Name


 Part 2: Your NONPRIORITY Unsecured Claims - Continuation Page

  After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                       Total claim


4.7     Santander Consumer USA                                                                                                                                 $0.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        Po Box 961245
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Fort Worth, TX 76161-0244                                           ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No
       ❑      Yes
4.8     Synerprise Consulting                                                                                                                                $544.00
                                                                            Last 4 digits of account number
       Nonpriority Creditor's Name
                                                                            When was the debt incurred?
        5651 Broadmoor St
       Number           Street                                              As of the date you file, the claim is: Check all that apply.
        Mission, KS 66202-2407                                              ❑   Contingent
       City                              State     ZIP Code                 ❑   Unliquidated
       Who incurred the debt? Check one.                                    ❑   Disputed
       ✔
       ❑      Debtor 1 only                                                 Type of NONPRIORITY unsecured claim:
       ❑      Debtor 2 only                                                 ❑   Student loans
       ❑      Debtor 1 and Debtor 2 only                                    ❑   Obligations arising out of a separation agreement or
       ❑      At least one of the debtors and another                           divorce that you did not report as priority claims

       ❑      Check if this claim is for a community debt
                                                                            ❑   Debts to pension or profit-sharing plans, and other
                                                                                similar debts
       Is the claim subject to offset?                                      ✔
                                                                            ❑   Other. Specify
       ✔
       ❑      No                                                                Medical
       ❑      Yes




Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 4 of 6
                Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                Entered 02/04/19 07:26:53                      Page 29 of 65
 Debtor 1              Todd                Rutherford              Anderson                                          Case number (if known)
                       First Name          Middle Name              Last Name

 Part 3: List Others to Be Notified About a Debt That You Already Listed

  5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection
     agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly,
     if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons
     to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
        American Profit Recovery                                      On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        34505 W 12 Mile Rd Ste 333                                    Line   4.5   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Farmingtn Hls, MI 48331-3288
       City                                  State      ZIP Code      Last 4 digits of account number

        ARS National Services, Inc.                                   On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        Po Box 469100                                                 Line   4.2   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Escondido, CA 92046-9100
       City                                  State      ZIP Code      Last 4 digits of account number

        Bureau of Account Mgt.                                        On which entry in Part 1 or Part 2 did you list the original creditor?
       Name
        Po Box 8875                                                   Line   4.1   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Number           Street                                                                    ✔
                                                                                                  ❑    Part 2: Creditors with Nonpriority Unsecured Claims
        Camp Hill, PA 17001-8875
       City                                  State      ZIP Code      Last 4 digits of account number

        U. S. Attorney General (IRS Notification)                     On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                                   ✔ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line   2.1   of (Check one): ❑
        United States Attorney General
        950 Pennsylvania Ave Nw                                                                   ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number           Street
                                                                      Last 4 digits of account number
        Washington, DC 20530-0009
       City                                  State      ZIP Code


        U. S. Attorney Northern Dist. Texas (IRS                      On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                                   ✔ Part 1: Creditors with Priority Unsecured Claims
        Notification)
       Name                                                           Line   2.1   of (Check one): ❑
        1100 Commerce St                                                                          ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number           Street
        Dallas, TX 75242-1001                                         Last 4 digits of account number
       City                                  State      ZIP Code


        Internal Revenue Service - Dist. Director                     On which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                                   ✔ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line   2.1   of (Check one): ❑
        SPB Mail Code 5020DAL
        1100 Commerce St                                                                          ❑    Part 2: Creditors with Nonpriority Unsecured Claims
       Number           Street
                                                                      Last 4 digits of account number
        Dallas, TX 75242-1001
       City                                  State      ZIP Code


                                                                      One which entry in Part 1 or Part 2 did you list the original creditor?

                                                                                   of (Check one): ❑ Part 1: Creditors with Priority Unsecured Claims
       Name
                                                                      Line
       Number           Street                                                                     ❑ Part 2: Creditors with Nonpriority Unsecured Claims
                                                                      Last 4 digits of account number

       City                                  State      ZIP Code




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 5 of 6
                Case 19-30376-bjh7 Doc 1 Filed 02/04/19                           Entered 02/04/19 07:26:53                    Page 30 of 65
 Debtor 1              Todd                 Rutherford             Anderson                                    Case number (if known)
                       First Name           Middle Name             Last Name

 Part 4: Add the Amounts for Each Type of Unsecured Claim

  6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
     type of unsecured claim.




                                                                                            Total claim


                   6a. Domestic support obligations                              6a.                               $0.00
 Total claims
 from Part 1       6b. Taxes and certain other debts you owe the                 6b.                         $160,000.00
                       government

                   6c. Claims for death or personal injury while you             6c.                               $0.00
                       were intoxicated

                   6d. Other. Add all other priority unsecured claims.           6d.   +                           $0.00
                       Write that amount here.

                   6e. Total. Add lines 6a through 6d.                           6e.                          $160,000.00




                                                                                            Total claim


                   6f. Student loans                                             6f.                               $0.00
 Total claims
 from Part 2       6g. Obligations arising out of a separation                   6g.                               $0.00
                       agreement or divorce that you did not report as
                       priority claims

                   6h. Debts to pension or profit-sharing plans, and             6h.                               $0.00
                       other similar debts

                   6i. Other. Add all other nonpriority unsecured claims.        6i.    +                    $296,024.03
                       Write that amount here.

                   6j. Total. Add lines 6f through 6i.                           6j.                          $296,024.03




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                          page 6 of 6
                     Case 19-30376-bjh7 Doc 1 Filed 02/04/19                               Entered 02/04/19 07:26:53                       Page 31 of 65
 Fill in this information to identify your case:

     Debtor 1                   Todd                 Rutherford         Anderson
                                First Name           Middle Name        Last Name

     Debtor 2
     (Spouse, if filing)        First Name           Middle Name        Last Name

     United States Bankruptcy Court for the:                       Northern District of Texas

     Case number                                                                                                                             ❑    Check if this is an
     (if known)                                                                                                                                   amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and case number (if
known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example, rent,
       vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired leases.



       Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1

        Name

        Number         Street

        City                                 State   ZIP Code

2.2

        Name

        Number         Street

        City                                 State   ZIP Code

2.3

        Name

        Number         Street

        City                                 State   ZIP Code

2.4

        Name

        Number         Street

        City                                 State   ZIP Code

2.5

        Name

        Number         Street

        City                                 State   ZIP Code



Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                                    page 1 of 1
                      Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                  Entered 02/04/19 07:26:53                   Page 32 of 65
 Fill in this information to identify your case:

  Debtor 1                        Todd                    Rutherford          Anderson
                                 First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)            First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                                Northern District of Texas

  Case number                                                                                                                                ❑     Check if this is an
  (if known)                                                                                                                                       amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                                                   12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are filing together,
both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number the entries in the boxes on
the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      ❑No
      ✔Yes
      ❑
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona, California, Idaho,
    Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      ❑No. Go to line 3.
      ✔Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
      ❑
        ❑No
        ✔Yes. In which community state or territory did you live? Texas
        ❑                                                                                                . Fill in the name and current address of that person.
               Anderson, Sara Christine
               Name of your spouse, former spouse, or legal equivalent
               231 Manor Way
               Number          Street
               Sunnyvale, TX 75182
               City                                   State   ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line 2 again as a
    codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D), Schedule E/F (Official
    Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

      Column 1: Your codebtor                                                                                  Column 2: The creditor to whom you owe the debt
                                                                                                                 Check all schedules that apply:
3.1
      Anderson, Sara Christine
                                                                                                                 ✔Schedule D, line 2.1, 2.3, 2.4
                                                                                                                 ❑
      Name
      231 Manor Way
                                                                                                                 ❑Schedule E/F, line
      Number          Street                                                                                     ❑Schedule G, line
      Sunnyvale, TX 75182
      City                                    State     ZIP Code

Official Form 106H                                                                Schedule H: Your Codebtors                                                             page 1 of 1
                  Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                Entered 02/04/19 07:26:53                       Page 33 of 65
 Fill in this information to identify your case:

  Debtor 1                   Todd                   Rutherford        Anderson
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name                                                   Check if this is:

  United States Bankruptcy Court for the:                        Northern District of Texas                                      ❑An amended filing
                                                                                                                                 ❑A supplement showing postpetition
  Case number                                                                                                                         chapter 13 income as of the following date:
  (if known)

                                                                                                                                      MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                               Debtor 1                                            Debtor 2 or non-filing spouse


     If you have more than one job,            Employment status           ✔Employed ❑Not Employed
                                                                           ❑                                                             ✔ Not Employed
                                                                                                                               ❑Employed ❑
     attach a separate page with
     information about additional                                          Astivities Director
     employers.
                                               Occupation
     Include part time, seasonal, or                                       Long Creek Assisted Living
     self-employed work.                       Employer's name

     Occupation may include student                                         Number Street                                      Number Street
                                               Employer's address
     or homemaker, if it applies.




                                                                            City                     State    Zip Code         City                    State      Zip Code
                                               How long employed there? 4 years



 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse unless you
     are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need more space,
     attach a separate sheet to this form.

                                                                                                         For Debtor 1       For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.             2.               $2,923.48                      $0.00

 3. Estimate and list monthly overtime pay.                                                 3.   +               $0.00     +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                            4.               $2,923.48                      $0.00




Official Form 106I                                                          Schedule I: Your Income                                                                    page 1
                    Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                                         Entered 02/04/19 07:26:53                 Page 34 of 65
 Debtor 1                   Todd                            Rutherford                         Anderson                                        Case number (if known)
                            First Name                      Middle Name                         Last Name


                                                                                                                                    For Debtor 1       For Debtor 2 or
                                                                                                                                                       non-filing spouse
      Copy line 4 here....................................................................................➔            4.              $2,923.48                   $0.00
 5.   List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                                5a.              $152.62                    $0.00

      5b. Mandatory contributions for retirement plans                                                                 5b.                $0.00                    $0.00

      5c. Voluntary contributions for retirement plans                                                                 5c.                $0.00                    $0.00

      5d. Required repayments of retirement fund loans                                                                 5d.             $1,158.60                   $0.00

      5e. Insurance                                                                                                    5e.                $0.00                    $0.00

      5f. Domestic support obligations                                                                                 5f.                $0.00                    $0.00

      5g. Union dues                                                                                                   5g.                $0.00                    $0.00

                                                                                                                       5h.
                                                                                                                             +             $0.00       +           $0.00
      5h. Other deductions. Specify:
 6.   Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                      6.              $1,311.22                   $0.00
 7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                                              7.              $1,612.26                   $0.00
 8.   List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross receipts,
            ordinary and necessary business expenses, and the total monthly net income.
                                                                                                                       8a.             $8,322.00                   $0.00
      8b. Interest and dividends
                                                                                                                       8b.                $0.00                    $0.00
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                                       8c.                $0.00                    $0.00
      8d. Unemployment compensation                                                                                    8d.                $0.00                    $0.00
      8e. Social Security                                                                                              8e.                $0.00                    $0.00
      8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
                                                                                                                       8f.                $0.00                    $0.00
            Specify:
                                                                                                                       8g.                $0.00                    $0.00
      8g. Pension or retirement income
      8h. Other monthly income. Specify:                                                                               8h.   +             $0.00       +           $0.00



 9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                            9.              $8,322.00                    $0.00

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                         10.             $9,934.26   +                $0.00        =       $9,934.26

 11. State all other regular contributions to the expenses that you list in Schedule J.
      Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
      friends or relatives.
      Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

      Specify:                                                                                                                                                          11. +             $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                               12.          $9,934.26
                                                                                                                                                                                 Combined
                                                                                                                                                                                 monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
      ❑No.
      ✔Yes. Explain:
      ❑                          Debtor anticipates that his income will increase.




Official Form 106I                                                                                        Schedule I: Your Income                                                          page 2
                Case 19-30376-bjh7 Doc 1 Filed 02/04/19                              Entered 02/04/19 07:26:53       Page 35 of 65
 Debtor 1                Todd               Rutherford             Anderson                           Case number (if known)
                         First Name         Middle Name            Last Name


   8a. Attached Statement

                                                                Anderson Appraisal Company

   FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
   PART A - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
        1    Gross Monthly Income:                                                                                                   $9,155.00
   PART B - ESTIMATED AVERAGE FUTURE MONTHLY EXPENSES:
        2    Ordinary and necessary expense                                                                                 $0.00
        3    Net Employee Payroll (Other than debtor)                                                                       $0.00
        4    Payroll Taxes                                                                                                  $0.00
        5    Unemployment Taxes                                                                                             $0.00
        6    Worker's Compensation                                                                                          $0.00
        7    Other Taxes                                                                                                    $0.00
        8    Inventory Purchases (Including raw materials)                                                                  $0.00
        9    Purchase of Feed/Fertilizer/Seed/Spray                                                                         $0.00
        10   Rent (Other than debtor's principal residence)                                                                 $0.00
        11   Utilities                                                                                                      $0.00
        12   Office Expenses and Supplies                                                                                   $0.00
        13   Repairs and Maintenance                                                                                        $0.00
        14   Vehicle Expenses                                                                                               $0.00
        15   Travel and Entertainment                                                                                       $0.00
        16   Equipment Rental and Leases                                                                                    $0.00
        17   Legal/Accounting/Other Professional Fees                                                                       $0.00
        18   Insurance                                                                                                      $0.00
        19   Employee Benefits (e.g., pension, medical, etc.)                                                               $0.00
        20   Payments to be Made Directly by Debtor to Secured Creditors for Pre-Petition Business
             Debts
             TOTAL PAYMENTS TO SECURED CREDITORS                                                                            $0.00

        21   Other Expenses
             Auto Expense                                                                            $290.00
             Office Supplies                                                                          $18.00
             Phones, Software                                                                        $525.00
             TOTAL OTHER EXPENSES                                                                                        $833.00
                                                                                                                                      $833.00
        22   TOTAL MONTHLY EXPENSES(Add item 2 - 21)
   PART C - ESTIMATED AVERAGE NET MONTHLY INCOME:
        23   AVERAGE NET MONTHLY INCOME(Subtract item 23 from item 1)                                                                $8,322.00




Official Form 106I                                                  Schedule I: Your Income                                                page 4
                  Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                    Entered 02/04/19 07:26:53                   Page 36 of 65
 Fill in this information to identify your case:

  Debtor 1                   Todd                     Rutherford             Anderson
                             First Name              Middle Name            Last Name                              Check if this is:
  Debtor 2                                                                                                         ❑An amended filing
  (Spouse, if filing)        First Name              Middle Name            Last Name                              ❑A supplement showing postpetition
                                                                                                                       chapter 13 income as of the following date:
  United States Bankruptcy Court for the:                              Northern District of Texas

  Case number                                                                                                          MM / DD / YYYY
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ✔No. Go to line 2.
     ❑
     ❑Yes. Does Debtor 2 live in a separate household?
            ❑No
            ❑Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                        ❑No
     Do not list Debtor 1 and                      ✔Yes. Fill out this information for
                                                   ❑                                     Dependent's relationship to          Dependent's         Does dependent live
     Debtor 2.                                                                           Debtor 1 or Debtor 2                 age                 with you?
                                                      each dependent...............
     Do not state the dependents' names.                                                  Child                               20 years                 ✔Yes.
                                                                                                                                                  ❑No. ❑
                                                                                          Parent                              52 years                 ✔Yes.
                                                                                                                                                  ❑No. ❑
                                                                                                                                                  ❑No. ❑Yes.
                                                                                                                                                  ❑No. ❑Yes.
                                                                                                                                                  ❑No. ❑Yes.
 3. Do your expenses include expenses              ✔ No
                                                   ❑
    of people other than yourself and
    your dependents?
                                                   ❑Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a date after
 the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                    Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent for the
    ground or lot.                                                                                                                4.                      $2,697.76


     If not included in line 4:
                                                                                                                                  4a.                         $0.00
     4a. Real estate taxes
                                                                                                                                  4b.                         $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                  4c.                       $175.00
     4c. Home maintenance, repair, and upkeep expenses
                                                                                                                                  4d.                         $0.00
     4d. Homeowner's association or condominium dues




Official Form 106J                                                                    Schedule J: Your Expenses                                                         page 1
 Debtor 1
                    Case 19-30376-bjh7
                      Todd
                                        Doc 1 FiledAnderson
                                   Rutherford
                                                    02/04/19                            Entered 02/04/19 07:26:53         Page 37 of 65
                                                                                                          Case number (if known)
                       First Name              Middle Name              Last Name


                                                                                                                        Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                5.

 6.    Utilities:

       6a. Electricity, heat, natural gas                                                                        6a.                    $425.00

       6b. Water, sewer, garbage collection                                                                      6b.                    $225.00

       6c. Telephone, cell phone, Internet, satellite, and cable services                                        6c.                    $225.00

       6d. Other. Specify:                                                                                       6d.                    $600.00

 7.    Food and housekeeping supplies                                                                            7.                       $0.00

 8.    Childcare and children’s education costs                                                                  8.                       $0.00

 9.    Clothing, laundry, and dry cleaning                                                                       9.                       $0.00

 10. Personal care products and services                                                                         10.                      $0.00

 11.   Medical and dental expenses                                                                               11.                     $75.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                12.                    $250.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                          13.                      $0.00

 14. Charitable contributions and religious donations                                                            14.                      $0.00

 15. Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                 15a.                     $0.00
       15a. Life insurance
                                                                                                                 15b.                     $0.00
       15b. Health insurance
                                                                                                                 15c.                   $490.00
       15c. Vehicle insurance
                                                                                                                 15d.                     $0.00
       15d. Other insurance. Specify:

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: Current Taxes $3,300                                                                             16.                $3,300.00

 17. Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                           17a.                   $479.00

       17b. Car payments for Vehicle 2                                                                           17b.

       17c. Other. Specify:                 Mortgage Arrears                                                     17c.               $1,000.00

       17d. Other. Specify:                                                                                      17d.

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                      18.                      $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                  19.                      $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                          20a.                     $0.00

       20b. Real estate taxes                                                                                    20b.                     $0.00

       20c. Property, homeowner’s, or renter’s insurance                                                         20c.                     $0.00
       20d. Maintenance, repair, and upkeep expenses                                                             20d.                     $0.00
       20e. Homeowner’s association or condominium dues                                                          20e.                     $0.00

Official Form 106J                                                              Schedule J: Your Expenses                                         page 2
 Debtor 1
                Case 19-30376-bjh7
                  Todd
                                    Doc 1 FiledAnderson
                               Rutherford
                                                02/04/19                                 Entered 02/04/19 07:26:53         Page 38 of 65
                                                                                                           Case number (if known)
                       First Name            Middle Name              Last Name



 21. Other. Specify:                                                                                                           21.    +       $0.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                             22a.       $9,941.76

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                                     22b.           $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                                          22c.       $9,941.76


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                                        23a.       $9,934.26

      23b. Copy your monthly expenses from line 22c above.                                                                     23b.   –   $9,941.76

      23c. Subtract your monthly expenses from your monthly income.
                                                                                                                               23c.         ($7.50)
            The result is your monthly net income.



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ❑No.           Explain here:
      ✔Yes.
      ❑              As debtor's income increases, his ability to more rapidly pay his mortgage arrears and taxes will increase.




Official Form 106J                                                              Schedule J: Your Expenses                                             page 3
                    Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                                           Entered 02/04/19 07:26:53                                   Page 39 of 65
 Fill in this information to identify your case:

  Debtor 1                         Todd                           Rutherford                 Anderson
                                  First Name                    Middle Name                 Last Name

  Debtor 2
  (Spouse, if filing)             First Name                    Middle Name                 Last Name

  United States Bankruptcy Court for the:                                            Northern District of Texas

  Case number                                                                                                                                                                       ❑      Check if this is an
  (if known)                                                                                                                                                                               amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all of your
schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a new Summary
and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                                            Your assets
                                                                                                                                                                                            Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                                       $386,000.00


    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                                               $14,375.00


    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                                      $400,375.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                                            Your liabilities
                                                                                                                                                                                            Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                                               $462,909.93

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                                            $160,000.00
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                                       +              $296,024.03


                                                                                                                                                                  Your total liabilities                    $918,933.96

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                                       $9,934.26


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                                     $9,941.76




Official Form 106Sum                                                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                                page 1 of 2
                 Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                  Entered 02/04/19 07:26:53                       Page 40 of 65
 Debtor 1             Todd                   Rutherford               Anderson                                            Case number (if known)
                      First Name             Middle Name               Last Name



 Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑    No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔
   ❑    Yes



7. What kind of debt do you have?
   ❑    Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
        family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
   ✔
   ❑    Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
        this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                       Total claim

       From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)



    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)



    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)



    9d. Student loans. (Copy line 6f.)



    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                         +


    9g. Total. Add lines 9a through 9f.




Official Form 106Sum                                   Summary of Your Assets and Liabilities and Certain Statistical Information                         page 2 of 2
                  Case 19-30376-bjh7 Doc 1 Filed 02/04/19                              Entered 02/04/19 07:26:53                    Page 41 of 65
 Fill in this information to identify your case:

  Debtor 1                   Todd                  Rutherford         Anderson
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                                12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑Yes. Name of person                                                              . Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature
                                                                                       (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaraion and that they are true and correct.




   ✘ /s/ Todd Rutherford Anderson
        Todd Rutherford Anderson, Debtor 1                              ✘
        Date 02/01/2019                                                     Date
                MM/ DD/ YYYY                                                       MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
                  Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                     Entered 02/04/19 07:26:53               Page 42 of 65

 Fill in this information to identify your case:

  Debtor 1                   Todd                  Rutherford          Anderson
                             First Name            Middle Name        Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name        Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                         ❑   Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                            04/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                               Dates Debtor 1 lived       Debtor 2:                                          Dates Debtor 2 lived
                                                              there                                                                         there


                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                            From                                                                          From
    Number      Street                                                                     Number     Street
                                                            To                                                                            To



    City                               State ZIP Code                                      City                      State ZIP Code




                                                                                       ❑ Same as Debtor 1                                  ❑ Same as Debtor 1
                                                            From                                                                          From
    Number      Street                                                                     Number     Street
                                                            To                                                                            To



    City                               State ZIP Code                                      City                      State ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
                 Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                   Entered 02/04/19 07:26:53                         Page 43 of 65

Debtor 1            Todd                 Rutherford               Anderson                                            Case number (if known)
                    First Name           Middle Name              Last Name



  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and territories
  include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross Income                  Sources of income             Gross Income
                                                    Check all that apply.         (before deductions and        Check all that apply.         (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the       ❑ Wages, commissions,                                       ❑ Wages, commissions,
    date you filed for bankruptcy:                     bonuses, tips                                               bonuses, tips
                                                   ✔ Operating a business
                                                   ❑                                          $6,945.55        ❑Operating a business

    For last calendar year:                        ❑ Wages, commissions,                                       ❑ Wages, commissions,
    (January 1 to December 31, 2018         )          bonuses, tips                                               bonuses, tips
                                     YYYY          ✔ Operating a business
                                                   ❑                                         $97,874.00        ❑Operating a business

    For the calendar year before that:             ❑ Wages, commissions,                                       ❑ Wages, commissions,
    (January 1 to December 31, 2017         )          bonuses, tips                                               bonuses, tips
                                     YYYY          ✔ Operating a business
                                                   ❑                                        $107,866.00        ❑Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other public benefit
  payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are filing a joint case and you
  have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                    Debtor 1                                                    Debtor 2

                                                    Sources of income             Gross income from each        Sources of income             Gross Income from each
                                                    Describe below.               source                        Describe below.               source
                                                                                  (before deductions and                                      (before deductions and
                                                                                  exclusions)                                                 exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 2
                 Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                      Entered 02/04/19 07:26:53                       Page 44 of 65

Debtor 1            Todd                     Rutherford            Anderson                                               Case number (if known)
                    First Name               Middle Name            Last Name


    For last calendar year:
    (January 1 to December 31, 2018           )
                                      YYYY




    For the calendar year before that:
    (January 1 to December 31, 2017           )
                                      YYYY




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑          Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
               individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

               ✔No. Go to line 7.
               ❑
               ❑Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you paid that
                           creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do not include
                           payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑Yes.      Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               ❑No. Go to line 7.
               ❑Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not include
                           payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an attorney for
                           this bankruptcy case.

                                                              Dates of             Total amount paid            Amount you still owe        Was this payment for…
                                                              payment

                                                                                                                                          ❑Mortgage
             Creditor's Name                                                                                                              ❑Car
                                                                                                                                          ❑Credit card
             Number        Street                                                                                                         ❑Loan repayment
                                                                                                                                          ❑Suppliers or vendors
                                                                                                                                          ❑Other
             City                    State        ZIP Code




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an
  officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you operate as a sole
  proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑Yes. List all payments to an insider.



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 3
                  Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                    Entered 02/04/19 07:26:53                          Page 45 of 65

Debtor 1            Todd                  Rutherford               Anderson                                             Case number (if known)
                    First Name            Middle Name                Last Name

                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment



    Insider's Name


    Number       Street




    City                         State   ZIP Code




  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑Yes. List all payments that benefited an insider.
                                                          Dates of               Total amount paid     Amount you still owe       Reason for this payment
                                                          payment                                                                 Include creditor’s name



    Insider's Name


    Number       Street




    City                         State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and contract
  disputes.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                    Nature of the case                           Court or agency                                  Status of the case

    Case title                                                                                                                                   ❑Pending
                                                                                                Court Name                                       ❑On appeal
                                                                                                                                                 ❑Concluded
                                                                                                Number       Street
    Case number

                                                                                                City                      State      ZIP Code




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                  page 4
                 Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                    Entered 02/04/19 07:26:53                     Page 46 of 65

Debtor 1            Todd                   Rutherford             Anderson                                         Case number (if known)
                    First Name             Middle Name             Last Name



  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ❑No. Go to line 11.
    ✔Yes. Fill in the information below.
    ❑
                                                                    Describe the property                                    Date            Value of the property
                                                                   2013 Toyota Prius
     Santander Consumer USA                                                                                              12/28/2018                     $8,352.00
    Creditor’s Name

     Po Box 961245
    Number      Street                                              Explain what happened

                                                                   ✔Property was repossessed.
                                                                   ❑
                                                                   ❑Property was foreclosed.
     Fort Worth, TX 76161-0244                                     ❑Property was garnished.
                                                                   ❑Property was attached, seized, or levied.
    City                          State    ZIP Code




  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or refuse
  to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                           Describe the action the creditor took                        Date action was     Amount
                                                                                                                        taken
    Creditor’s Name


    Number      Street



    City                         State     ZIP Code
                                                          Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-appointed
  receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift.




Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 5
                 Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                    Entered 02/04/19 07:26:53                    Page 47 of 65

Debtor 1             Todd                   Rutherford             Anderson                                         Case number (if known)
                     First Name             Middle Name             Last Name

     Gifts with a total value of more than $600 per         Describe the gifts                                          Dates you gave       Value
     person                                                                                                             the gifts



    Person to Whom You Gave the Gift




    Number      Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities that     Describe what you contributed                                    Date you              Value
     total more than $600                                                                                          contributed



    Charity’s Name




    Number      Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or gambling?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
     Describe the property you lost and         Describe any insurance coverage for the loss                      Date of your loss      Value of property lost
     how the loss occurred                      Include the amount that insurance has paid. List pending
                                                insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 6
                Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                 Entered 02/04/19 07:26:53                       Page 48 of 65

Debtor 1            Todd                Rutherford             Anderson                                           Case number (if known)
                    First Name          Middle Name             Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted about
  seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑No
    ✔Yes. Fill in the details.
    ❑
                                               Description and value of any property transferred                Date payment or         Amount of payment
     Lusky & Associates, P.C.                                                                                   transfer was made
    Person Who Was Paid                       Attorney's Fee; Court Costs
                                                                                                               02/01/2019                           $2,500.00
     5473 Blair Rd
    Number     Street
                                                                                                               02/01/2019                             $335.00



     Dallas, TX 75231-2328
    City                   State   ZIP Code
    mail@lusky.com
    Email or website address


    Person Who Made the Payment, if Not You




  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to help you
  deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of any property transferred                Date payment or         Amount of payment
                                                                                                                transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 7
                 Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                 Entered 02/04/19 07:26:53                      Page 49 of 65

Debtor 1            Todd                 Rutherford             Anderson                                          Case number (if known)
                    First Name           Middle Name            Last Name

                                                Description and value of property           Describe any property or payments received       Date transfer was
                                                transferred                                 or debts paid in exchange                        made

    Person Who Received Transfer


    Number      Street




    City                    State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?(These are
  often called asset-protection devices.)

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                               Description and value of the property transferred                                             Date transfer was
                                                                                                                                             made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved, or
  transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension funds,
  cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                Last 4 digits of account number          Type of account or        Date account was            Last balance
                                                                                         instrument                closed, sold, moved, or     before closing or
                                                                                                                   transferred                 transfer

    Name of Financial Institution
                                                XXXX–                                  ❑Checking
                                                                                       ❑Savings
    Number      Street
                                                                                       ❑Money market
                                                                                       ❑Brokerage
                                                                                       ❑Other
    City                   State    ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 8
                 Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                 Entered 02/04/19 07:26:53                    Page 50 of 65

Debtor 1            Todd                 Rutherford            Anderson                                         Case number (if known)
                    First Name           Middle Name           Last Name



  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else had access to it?                    Describe the contents                         Do you still have
                                                                                                                                             it?

                                                                                                                                            ❑No
    Name of Financial Institution               Name
                                                                                                                                            ❑Yes

    Number      Street                          Number     Street



                                                City                 State    ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                 Who else has or had access to it?             Describe the contents                         Do you still have
                                                                                                                                             it?

                                                                                                                                            ❑No
    Name of Storage Facility                    Name
                                                                                                                                            ❑Yes

    Number      Street                          Number     Street



                                                City                 State    ZIP Code

    City                   State    ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                           page 9
                   Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                        Entered 02/04/19 07:26:53                      Page 51 of 65

Debtor 1            Todd                  Rutherford               Anderson                                              Case number (if known)
                    First Name            Middle Name               Last Name

                                                    Where is the property?                              Describe the property                            Value


    Owner's Name
                                                   Number      Street


    Number     Street

                                                   City                        State   ZIP Code


    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic substances, wastes,
      or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the cleanup of these substances,
      wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate, or utilize it,
      including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant,
      contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                   Governmental unit                              Environmental law, if you know it                      Date of notice


    Name of site                                  Governmental unit



    Number     Street                             Number      Street


                                                  City                 State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑Yes. Fill in the details.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                   page 10
                   Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                      Entered 02/04/19 07:26:53                       Page 52 of 65

Debtor 1             Todd                   Rutherford                Anderson                                             Case number (if known)
                     First Name             Middle Name               Last Name

                                                     Governmental unit                           Environmental law, if you know it                      Date of notice


    Name of site                                    Governmental unit



    Number        Street                            Number       Street


                                                    City                  State   ZIP Code


    City                     State    ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑Yes. Fill in the details.
                                                     Court or agency                             Nature of the case                                     Status of the case


    Case title
                                                    Court Name
                                                                                                                                                      ❑Pending
                                                                                                                                                      ❑On appeal
                                                                                                                                                      ❑Concluded
                                                    Number       Street


    Case number
                                                    City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑No. None of the above applies. Go to Part 12.
    ✔Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                      Describe the nature of the business                          Employer Identification number
     Anderson Appraisal Co.                                                                                        Do not include Social Security number or ITIN.
    Name
                                                     Appraisals
                                                                                                                    EIN:   7   5 – 2    9   4   7   9    3   1

    Number        Street
                                                      Name of accountant or bookkeeper                             Dates business existed

                                                                                                                    From 1/1/1999        To Present

    City                     State    ZIP Code




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 11
                Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                 Entered 02/04/19 07:26:53                       Page 53 of 65

Debtor 1            Todd                Rutherford               Anderson                                        Case number (if known)
                    First Name          Middle Name              Last Name

                                                 Describe the nature of the business                     Employer Identification number
     Anderson Appraisal Co.                                                                              Do not include Social Security number or ITIN.
    Name
                                                Appraisals
                                                                                                          EIN:    7   5 – 2     9   4   7   9   3   1

    Number     Street
                                                 Name of accountant or bookkeeper                        Dates business existed

                                                                                                          From 1/1/1999          To Present

    City                   State   ZIP Code



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions, creditors,
  or other parties.

    ✔ No
    ❑
    ❑Yes. Fill in the details below.
                                                 Date issued



    Name                                        MM / DD / YYYY



    Number     Street




    City                   State   ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 12
               Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                 Entered 02/04/19 07:26:53                     Page 54 of 65

Debtor 1           Todd                 Rutherford             Anderson                                        Case number (if known)
                   First Name           Middle Name             Last Name

Part 12: Sign Below


 I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true and
 correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case
 can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




   ✘                 /s/ Todd Rutherford Anderson                   ✘
       Signature of Todd Rutherford Anderson, Debtor 1                  Signature of


       Date 02/01/2019                                                  Date




 Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

   ✔ No
   ❑
   ❑Yes
 Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
                                                                                                     Attach the Bankruptcy Petition Preparer’s Notice,
   ❑Yes. Name of person                                                                              Declaration, and Signature (Official Form 119).
                  Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                 Entered 02/04/19 07:26:53                  Page 55 of 65
 Fill in this information to identify your case:

  Debtor 1                   Todd                  Rutherford         Anderson
                             First Name            Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)        First Name            Middle Name       Last Name

  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number                                                                                                                          ❑    Check if this is an
  (if known)                                                                                                                                amended filing


Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                                      12/15
If you are an individual filing under chapter 7, you must fill out this form if:
■ creditors have claims secured by your property, or
■ you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors, whichever is earlier, unless
the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must sign and date the form.
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known).



 Part 1: List Your Creditors Who Have Secured Claims

 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the information below.
     Identify the creditor and the property that is collateral             What do you intend to do with the property that secures a Did you claim the property as
                                                                           debt?                                                     exempt on Schedule C?

    Creditor’s                                                             ❑ Surrender the property.                                      ❑ No
    name:                 Chrysler Financial
                                                                           ❑ Retain the property and redeem it.                           ✔ Yes
                                                                                                                                          ❑
    Description of        2013 Jeep Wrangler                               ✔ Retain the property and enter into a
                                                                           ❑
    property                                                                       Reaffirmation Agreement.
    securing debt:
                                                                           ❑ Retain the property and [explain]:


    Creditor’s                                                             ❑ Surrender the property.                                      ❑ No
    name:                 Westlake Financial
                                                                           ❑ Retain the property and redeem it.                           ✔ Yes
                                                                                                                                          ❑
    Description of        2008 Jeep Wrangler                               ✔ Retain the property and enter into a
                                                                           ❑
    property                                                                       Reaffirmation Agreement.
    securing debt:
                                                                           ❑ Retain the property and [explain]:




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                               page 1
 Debtor 1
                 Case 19-30376-bjh7
                   Todd
                                     Doc 1 FiledAnderson
                                Rutherford
                                                 02/04/19                          Entered 02/04/19 07:26:53         Page 56 of 65
                                                                                                     Case number (if known)
                     First Name           Middle Name            Last Name




         Additional Page for Part 1

Creditor’s                                                        ❑ Surrender the property.                         ❑ No
name:               Mr. Cooper
                                                                  ❑ Retain the property and redeem it.              ✔ Yes
                                                                                                                    ❑
Description of
property
                    Homestead
                    231 Manor Way Sunnyvale, TX 75182-9562
                                                                  ❑ Retain the property and enter into a
                                                                      Reaffirmation Agreement.
                                                                  ✔ Retain the property and [explain]:
securing debt:
                                                                  ❑
                                                                      make the payments and cure the arrearage.




Creditor’s                                                        ❑ Surrender the property.                         ❑ No
name:               Internal Revenue Service
                                                                  ❑ Retain the property and redeem it.              ✔ Yes
                                                                                                                    ❑
Description of
property
                    Homestead
                    231 Manor Way Sunnyvale, TX 75182-9562
                                                                  ❑ Retain the property and enter into a
                                                                      Reaffirmation Agreement.
                                                                  ✔ Retain the property and [explain]:
securing debt:
                                                                  ❑
                                                                      pay the secured claim over time.




Official Form 108                                   Statement of Intention for Individuals Filing Under Chapter 7                    page
 Debtor 1
                Case 19-30376-bjh7
                  Todd
                                    Doc 1 FiledAnderson
                               Rutherford
                                                02/04/19                             Entered 02/04/19 07:26:53         Page 57 of 65
                                                                                                       Case number (if known)
                      First Name           Middle Name            Last Name


 Part 2: List Your Unexpired Personal Property Leases

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill in the information
 below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended. You may assume an unexpired personal
 property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

     Describe your unexpired personal property leases                                                                                Will the lease be assumed?
    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:

    Lessor’s name:                                                                                                                   ❑ No
                                                                                                                                     ❑ Yes
    Description of leased
    property:




 Part 3: Sign Below


   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal property that
   is subject to an unexpired lease.



✘                   /s/ Todd Rutherford Anderson                  ✘
    Signature of Debtor 1                                              Signature of Debtor 2


    Date 02/01/2019                                                    Date
            MM/ DD/ YYYY                                                      MM/ DD/ YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                                               page 2
          Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                     Entered 02/04/19 07:26:53                   Page 58 of 65
B2030 (Form 2030)(12/15)


                                                 United States Bankruptcy Court
                                                           Northern District of Texas
In re
Anderson, Todd Rutherford                                                                                         Case No.
                                                                                                                  Chapter         7
Debtor(s)

                                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named
     debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed
     to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in
     connection with the bankruptcy case is as follows:
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . .                       $2,835.00
          Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . .                         $2,835.00
          Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .            $0.00

2.   The source of the compensation to be paid to me was:
          ✔
          ❑    Debtor                               ❑    Other (specify)

3.   The source of compensation to be paid to me is:
          ✔
          ❑    Debtor                               ❑    Other (specify)

4.   ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and
     ❑
     associates of my law firm.

     ❑ I have agreed to share the above-disclosed compensation with another person or persons who are not members or
     associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
     compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
   including:
     a.   Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a
          petition in bankruptcy;
     b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
     c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings
          thereof;

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following services:
     Adversary or contested proceedings; attendance at more than one (1) 341 Meeting; representation in post discharge
     matters are not included unless otherwise specifically noted.

                                                                        CERTIFICATION
                          I certify that the foregoing is a complete statement of any agreement or
                       arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                       proceeding.

                       02/01/2019                                      /s/ Herman A. Lusky
                       Date                                                Signature of Attorney

                                                                       Lusky & Associates, P.C.
                                                                          Name of law firm
                  Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                    Entered 02/04/19 07:26:53                   Page 59 of 65
 Fill in this information to identify your case:

  Debtor 1                     Todd                     Rutherford         Anderson
                               First Name               Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)          First Name               Middle Name       Last Name

  United States Bankruptcy Court for the:                             Northern District of Texas

  Case number
  (if known)                                                                                                                ❑ Check if this is an amended filing

Official Form 122A-1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                                      12/15
File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are exempted from a
presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the exclusions in this statement applies to only
one of you, the other person should complete a separate Form 122A-1 if you believe that this is required by 11 U.S.C. § 707(b)(2)(C).



 Part 1: Identify the Kind of Debts You Have

      1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a personal, family, or
         household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition (Official Form 101).
           ✔ No.
           ❑         Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
                     supplement with the signed Form 122A-1.
           ❑Yes.        Go to Part 2.



 Part 2: Determine Whether Military Service Provisions Apply to You

      2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           ❑No. Go to line 3.
           ❑Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                        10 U.S.C. § 101(d)(1)); 32 U.S.C. § 901(1).

                        ❑No. Go to line 3.
                        ❑Yes. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                                 submit this supplement with the signed Form 122A-1.


      3. Are you or have you been a Reservist or member of the National Guard?
           ❑No. Complete Form 122A-1. Do not submit this supplement.
           ❑Yes. Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1)
            ❑No. Complete Form 122A-1. Do not submit this supplement.
            ❑Yes. Check any one of the following categories that applies:
               ❑I was called to active duty after September 11, 2001, for at least 90 days and                  If you checked one of the categories to the left, go to Form
                                                                                                                122A-1. On the top of page 1 of Form 122A-1, check box 3,
                  remain on active duty.
                                                                                                                The Means Test does not apply now, and sign Part 3. Then
               ❑I was called to active duty after September 11, 2001, for at least 90 days and was              submit this supplement with the signed Form 122A-1. You are
                                                                                                                not required to fill out the rest of Official Form 122A-1 during
                  released from active duty on                         , which is fewer than 540 days           the exclusion period. The exclusion period means the time you
                  before I file this bankruptcy case.                                                           are on active duty or are performing a homeland defense
               ❑I am performing a homeland defense activity for at least 90 days.                               activity, and for 540 days afterward. 11 U.S.C. § 707(b)
                                                                                                                (2)(D)(ii).
               ❑I performed a homeland defense activity for at least 90 days, ending on
                                                                                                                If your exclusion period ends before your case is closed, you
                                        , which is fewer than 540 days before I file this bankruptcy
                                                                                                                may have to file an amended form later
                  case.




 Official Form 122A-1Supp                          Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                   page 1
                  Case 19-30376-bjh7 Doc 1 Filed 02/04/19                                 Entered 02/04/19Check
                                                                                                           07:26:53         Page 60 of 65
                                                                                                                one box only as directed in this form and in Form
 Fill in this information to identify your case:
                                                                                                                      122A-1Supp:
  Debtor 1                   Todd
                             First Name
                                                   Rutherford
                                                   Middle Name
                                                                        Anderson
                                                                        Last Name
                                                                                                                      ✔1. There is no presumption of abuse.
                                                                                                                      ❑
  Debtor 2                                                                                                            ❑2. The calculation to determine if a presumption of
  (Spouse, if filing)        First Name            Middle Name          Last Name                                        abuse applies will be made under Chapter 7 Means
                                                                                                                         Test Calculation (Official Form 122A-2).
  United States Bankruptcy Court for the:                        Northern District of Texas

  Case number
                                                                                                                      ❑3. The Means Test does not apply now because of
  (if known)
                                                                                                                         qualified military service but it could apply later.


                                                                                                                      ❑ Check if this is an amended filing
Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed, attach a
separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and case
number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying
military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1: Calculate Your Current Monthly Income

 1.   What is your marital and filing status? Check one only.
      ❑Not married. Fill out Column A, lines 2-11.
      ❑ Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      ❑ Married and your spouse is NOT filing with you. You and your spouse are:
         ❑Living in the same household and are not legally separated. Fill out both Column A and B, lines 2-11.
         ❑Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
               penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are living
               apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).

        Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
        101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied
        during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if
        both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                                Column A                Column B
                                                                                                                Debtor 1                Debtor 2 or
                                                                                                                                        non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse if Column B is
    filled in.
 4. All amounts from any source which are regularly paid for household expenses of you or your
    dependents, including child support. Include regular contributions from
    an unmarried partner, members of your household, your dependents, parents, and roommates.
    Include regular contributions from a spouse only if Column B is not filled in. Do not include
    payments you listed on line 3.

 5. Net income from operating a business, profession, or
    farm                                                                 Debtor 1          Debtor 2

      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses                     -                 -
                                                                                                       Copy
      Net monthly income from a business, profession, or farm                                          here →


 6. Net income from rental and other real property                       Debtor 1          Debtor 2

      Gross receipts (before all deductions)

      Ordinary and necessary operating expenses                     -                 -
                                                                                                       Copy
      Net monthly income from rental or other real property                                            here →

       7. Interest, dividends, and royalties


 Official Form 122A-1                                             Chapter 7 Statement of Your Current Monthly Income                                                        page 1
Debtor 1
                    Case 19-30376-bjh7
                      Todd
                                        Doc 1 FiledAnderson
                                   Rutherford
                                                    02/04/19                                                             Entered 02/04/19 07:26:53         Page 61 of 65
                                                                                                                                           Case number (if known)
                            First Name                         Middle Name                               Last Name
                                                                                                                                         Column A                          Column B
                                                                                                                                         Debtor 1                          Debtor 2 or
                                                                                                                                                                           non-filing spouse
       8. Unemployment compensation
            Do not enter the amount if you contend that the amount received was a benefit under
           the Social Security Act. Instead, list it here: ..................................................        ↓
           For you....................................................................................

           For your spouse......................................................................

       9. Pension or retirement income. Do not include any amount received that was a benefit
          under the Social Security Act.

      10. Income from all other sources not listed above. Specify the source and amount.
          Do not include any benefits received under the Social Security Act or payments received
          as a victim of a war crime, a crime against humanity, or international or domestic
          terrorism. If necessary, list other sources on a separate page and put the total below.




     Total amounts from separate pages, if any.                                                                                         +                                   +

       11. Calculate your total current monthly income. Add lines 2 through 10 for each                                                                                     +                  =
           column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                                                    Total current
                                                                                                                                                                                                   monthly income



 Part 2: Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

   12a. Copy your total current monthly income from line 11....................................................................................                         Copy line 11 here →
             Multiply by 12 (the number of months in a year).                                                                                                                                      X 12
   12b. The result is your annual income for this part of the form.                                                                                                                    12b.
13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.

    Fill in the number of people in your household.

    Fill in the median family income for your state and size of household....................................................................................................           13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.
14. How do the lines compare?

   14a. ❑Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
         Go to Part 3.
   14b. ❑Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2. Go to Part
         3 and fill out Form 122A–2.
 Part 3: Sign Below

       By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


       X /s/ Todd Rutherford Anderson                                                                                       X
             Signature of Debtor 1                                                                                              Signature of Debtor 2

            Date            02/01/2019                                                                                          Date
                         MM/DD/YYYY                                                                                                    MM/DD/YYYY

       If you checked line 14a, do NOT fill out or file Form 122A–2.

       If you checked line 14b, fill out Form 122A–2 and file it with this form.

Official Form 122A-1                                                                            Chapter 7 Statement of Your Current Monthly Income                                                           page 2
       Case 19-30376-bjh7 Doc 1 Filed  02/04/19
                                IN THE UNITED        Entered 02/04/19
                                              STATES BANKRUPTCY COURT 07:26:53                                                 Page 62 of 65
                                                            NORTHERN DISTRICT OF TEXAS
                                                                 DALLAS DIVISION

IN RE: Anderson, Todd Rutherford                                                            CASE NO

                                                                                            CHAPTER 7




                                                     VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      02/01/2019              Signature                                /s/ Todd Rutherford Anderson
                                                                         Todd Rutherford Anderson, Debtor
Case 19-30376-bjh7 Doc 1 Filed 02/04/19    Entered 02/04/19 07:26:53   Page 63 of 65

                                 American Profit Recovery
                                34505 W 12 Mile Rd Ste 333
                                Farmingtn Hls, MI 48331-3288




                                Sara Christine Anderson
                                231 Manor Way
                                Sunnyvale, TX 75182




                                 ARS National Services, Inc.
                                Po Box 469100
                                Escondido, CA 92046-9100




                                Baylor Scott & White Inst. for
                                Rehab.
                                Po Box 677466
                                Dallas, TX 75267-7466



                                Bureau of Account Mgt.
                                Po Box 8875
                                Camp Hill, PA 17001-8875




                                Capital One Bank - General
                                Correspondence
                                Po Box 30285
                                Salt Lake Cty, UT 84130-0287



                                Chrysler Financial
                                Po Box 961275
                                Fort Worth, TX 76161-0275




                                Dallas Prim Care Hospital
                                c/o Credit Systems
                                Po Box 1088
                                Arlington, TX 76004-1088
Case 19-30376-bjh7 Doc 1 Filed 02/04/19    Entered 02/04/19 07:26:53   Page 64 of 65

                                Internal Revenue Service -
                                Dist. Director
                                SPB Mail Code 5020DAL
                                1100 Commerce St
                                Dallas, TX 75242-1001


                                Internal Revenue Service
                                Centralized Insolvency Operations
                                Po Box 7346
                                Philadelphia, PA 19101-7346



                                Lawn Lab
                                112 Industrial Dr.
                                Fort Worth, TX 76126




                                Mnet Financial / Receivable
                                Mgt. Solutions
                                95 Argonaut Ste 200
                                Aliso Viejo, CA 92656-4147



                                Mr. Cooper
                                8950 Cypress Waters Blvd
                                Coppell, TX 75019-4620




                                RAS Crane, LLC
                                10700 Abbotts Bridge Rd Ste 170
                                Duluth, GA 30097-8461




                                RAS Crane, LLC
                                1900 Enchanted Way
                                Grapevine, TX 76051




                                Santander Consumer USA
                                Po Box 961245
                                Fort Worth, TX 76161-0244
Case 19-30376-bjh7 Doc 1 Filed 02/04/19    Entered 02/04/19 07:26:53   Page 65 of 65

                                Synerprise Consulting
                                5651 Broadmoor St
                                Mission, KS 66202-2407




                                U. S. Attorney General (IRS
                                Notification)
                                United States Attorney General
                                950 Pennsylvania Ave Nw
                                Washington, DC 20530-0009


                                U. S. Attorney Northern Dist.
                                Texas (IRS Notification)
                                1100 Commerce St
                                Dallas, TX 75242-1001



                                Westlake Financial
                                Po Box 54807
                                Los Angeles, CA 90054-0807
